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    Transcript of Robilyn Brown
           Date: December 14, 2015

Case: Smith -v- District of Columbia, et al.




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                       Conducted on December 14,2015

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 1   you in trouble.

 2             Have you received any training in relation

 3   to the position of legal instruments examiner?

 4         A   On-job training or -- well, let me -- could

 5   you rephrase that.         , you mean prior?

 6         Q   Prior to becoming a legal instrument

 7   examiner, did you receive train        ?

 8         A   Oh.     No.

 9         Q   And then once you were hired, then you

10   received on-the-job training?

11         A   That's correct.

12         Q   And did you receive any classroom training

13   or manuals or just on-the-job?

14         A   Yes.

15         Q   Just on-the-job?

16         A   No.     Classroom and

17         Q   And what was the classroom training?

18         A   40 hours annually every year.

19         Q   And is that specific to the position of

20   legal instruments examiner or is that annual 40-hour

21   training applied to everyone for the Department of

22   Corrections?

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 1            A    40-hour training for everyone.

 2            Q   And is there any training specific to the

 3   legal        trument examiner position that occurs during

 4   the 40-hour annual training?

 5            A   Yes.

 6            Q   What is that?

 7            A    It's like an in-office training.

 8            Q   And who conducts that training?

 9            A    Supervisors and CPOs.

10            Q   And how often is that training?

11            A    It's      well, I can only say it was maybe

12   two years ago.        Two years ago.

13            Q    So you haven't had that training in over two

14   years?

15            A    That's correct.

16            Q   And how long was that training?

17            A    40 hours.

18            Q    It was 40 hours?

19            A    Uh-huh.

20            Q    Okay.     What were the topics covered during

21   the training?

22            A    Intakes, court returns, releases.

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           1         Q     And what did you specifically cover in that

w~   ."    2   training on releases?

           3         A     How to process.

           4         Q     And how do you process?

           5         A     By reviewing the documents in full detail.

           6         Q     What documents are you referring to?

           7         A     Court documents.

           8         Q     Is there anything else other than intake,

           9   court returns, and releases that were covered in that

          10   training?

          11         A     Sentence computations -- also, computations.

          12         Q     And at the time, did all supervisory legal

          13   instrument examiners have to go to that training?

          14         A     I would say no, because some gave the

          15   training.    They facilitated.

          16         Q     So the persons receiving the training,    is it

          17   fair to say it was some supervisory legal instrument

          18   examiners and then legal instrument examiners?

          19         A     Yes.

          20         Q     So one of the topics -- so I have four

          21   topics:     intake, court returns, release, and sentence

          22   computations.      One of them was court returns.   What

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 1           A   In Superior Court, D.C. Superior Court.

 2           Q   I see.     So the marshal only hand-delivers to

 3   the LIE at the Superior Court, not to an LIE at D.C.

 4   Jail.

 5           A   That's correct.

 6           Q   And then the LIE at the satellite office,

 7   the Superior Court, scans that document?

 8           A   That's -- uh-huh.

 9           Q   Uploads it to the TMS system?

10           A   Correct.      Yes.

11           Q   And after that occurs, what's the next step

12   in the process?

13           A   An LIE from D.C. Jail will select that

14   document and they'll begin the process.

15           Q   So once the LIE at the Superior Court

16   uploads the document to TMS, it then appears on the

17   computer?

18           A   It's like a pull.        It's a -- TMS is a

19   transaction management system, so they'll click "Next"

20   and it will pull the next priority.

21           Q   I see.     What does the LIE at the D.C. Jail

22   do once they pull the court document?

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 1            A     Pull the institutional record.

 2            Q     And that's a hard copy?

 3            A     That's correct.

 4            Q     And what do they do with the institutional

 5   record?

 6            A     Review it and compare all documents.

 7            Q     And what are they looking for in the

 8   institutional record?

 9            A     The commitment; if they received a release

10   order,       just to make sure the release order matches the

11   commitment by PDID number, inmate's name, date of

12   birth, and case number.

13            Q     All right.     So after checking the

14   institutional record where they're checking the

15   identifying information, if that's correct; right?

16            A     Correct.

17            Q     What's the next step for the LIE?

18            A     Depending on what they're processing with

19   it.

20            Q     Let's say a release order.

21            A     Okay.    So they would match the document, go

22   into the internal system called JACCS, assure that

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 1   everything that's in the hard copy is in the

 2   institutional record is posted, and then they would

 3   look at the release order and go into JACCS and close

 4   out that specific case as directed by the order of the

 5   Court.

 6            Q   So when you say they match the document,

 7   what do you mean by that?

 8            A   They compare every specific -- specifics, as

 9   I stated earlier, with the         from the release order

10   to the committing document to make sure everything

11   matches.

12            Q   So if you're comparing the release order to

13   the committing document, are you just looking at the

14   case number, the prisoner ID, and their name?

15            A   No, you're looking at the prisoner's PDID

16   number, the case number, the date of birth, the          and

17   then on a release order, you're going to cross and

18   just make sure the judge has ordered this individual

19   to be released on this day, on that specific day.

20            Q   And what do you check to ensure that the

21   judge did release the individual on that day?

22            A   It will read it on the commitment.    It will

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 1   read it on the release order.

 2          Q   Just to clarify, it will state it on the

 3   commitment?

 4          A   No.    On the commitment, it will say,

 5   "Committed."      The release order will say,      "Release."

 6   And then it will have -- it will read something,          "You

 7   are hereby released from custody on this case."           It

 8   says

 9          Q   Will it say that in the release order in one

10   of the systems?

11          A   Excuse me?

12          Q   Will it say that on the release order

13   itself?

14          A   Yes.

15          Q   And that's -- once the LIE sees that -­

16          A   Uh-huh.

17          Q         then they just check the date of birth,

18   prisoner ID?

19          A   And the judge's signature, to make sure it's

20   signed by a judge.

21          Q   And if the release order is verified by the

22   LIE and matches, then what's the next step?

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 1            A   They close it out in JACCS.                 scan it

 2   into our internal system called                 Clips.

 3            Q   And you said the internal            em is called

 4   "Paper Clips"?

 5            A   Paper Clips, it's a scanning             it's where

 6   we hold documents.         It's like a cloud.

 7            Q   I see.     And does that        saved, a copy of

 8   the release order get saved, in JACCS or it just                    s

 9   saved in Paper Clips?

10            A   Just in Paper Cl

11            Q   And every document that is received from the

12   Court by an LIE has to             scanned into            Clips?

13            A   That's correct.

14            Q   And does a copy of the          of the document

15   issued from the Court, such as a release order, does a

16   hard copy get printed and put into

17            A   The inst               file.

18            Q   -- the institutional file?

19            A   That's correct.

20            Q   So does each prisoner have a file in Paper

21   Clips?

22            A   Yes.

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 1         Q     And those documents are retained

 2         A     Yes.

 3         Q        in Paper Clips?

 4         A     Yes.

 5         Q     And a document only gets uploaded in Paper

 6   Clips, not when it's received but when it's scanned;

 7   correct?

 8         A     That's correct.

 9         Q     At any point does an LIE need to check the

10   JUSTIS system?

11         A     Yes.

12         Q     And at what point in the release process, so

13   to speak, is that?

14         A     Once the LIE has determined that this

15   individual can be released on           s case, that's when

16   they can go into, you know, MyJUSTIS and verify.

17         Q     And that's a necessary step is to check with

18   MyJUSTIS?

19         A     Yes.

20         Q     And what is the MyJUSTIS system?

21         A     It's a court-based system, external.       It's

22   court-based.       It's where the Courts enter their

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 1   information and we just verify what they            in.

 2         Q      Is it fair to say that the LIE is verifying

 3   that the documents           receive are consistent with

 4   the Court system?

 5         A      Yes.

 6         Q      And do you have any reason to believe that

 7   MyJUSTIS would contain inaccurate information?

 8         A      Yes.

 9         Q      You do have reason to believe?

10         A      Uh-huh.

11         Q      Why is that?

12         A      Because sometimes we'll get documents that

13   haven't been uploaded in MyJUSTIS or we can get

14   documents -- we cannot have received documents and

15   MyJUSTIS will not reflect it and then, maybe a day

16   later, it will be in MyJUSTIS, like a backlog.

17         Q      And if there's any discrepancy between

18   MyJUSTIS and the documents received by the Court, what

19   do you do?

20         A      Call      call quality assurance at the D.C.

21        ior Court.

22         Q      If I can have you turn to DC 3.

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 1   Office Legal Instruments Examiners shall obtain and

 2   review printouts from the National Crime Information

 3   Center, COURT VIEW, WALES II and JACCS to determine if

 4   there are any outstanding warrants or charges

 5   preventing release, prior to an inmate's release from

 6   the custody of DOC."      Is that information accurate?

 7             MS. COPPOCK:       Objection to form.     Go ahead.

 8         A   No.

 9         Q   And what's not accurate about it?

10         A   Just the names of the specifics.          COURT VIEW

11   is now MyJUSTIS.     WALES II under MPD is now eAgent.

12         Q   WALES II is eAgent?

13         A   Yes.

14         Q   Okay.

15         A   JACCS remains our current data entry system.

16         Q   And when did COURT VIEW become MyJUSTIS?

17         A   I want to say 2012.

18         Q   Do you know why it was changed from COURT

19   VIEW to MyJUSTIS?

20         A   I don't.

21         Q   So just taking a closer look, that first

22   part states, "Records office legal instruments

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 1           A   Yes.

 2           Q   Do you have any reason to believe that you

 3   did not sign the release referenced in that

 4   interrogatory?

 5           A   No.

 6           Q   So when you perform a release as a

 7   supervisory legal instrument examiner, what is your

 8   role?

 9           A   To verify and       to verify the initial

10   yeah, the second I like to verify everything the

11   initial preparer stated and seen was correct.

12           Q   Is it fair to say it's double-checking the

13   work of the LIE?

14           A   Yes.   Yes.

15           Q   And that only happens after the LIE actually

16   makes the determination that the prisoner should be

17   released; correct?

18           A   Yes.

19           Q   While performing that verification, do you

20   review the institutional file?

21           A   Yes.

22           Q   And are you required to review MyJUSTIS?

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